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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

TOT POWER CONTROL, S.L,                            §
                                                   §
                      Plaintiff,                   §
                                                   §
                                                   §    Civil Action No. 6:21-cv-00107-ADA
v.                                                 §
                                                   §
AT&T MOBILITY LLC,                                 §
                                                   §    JURY TRIAL DEMANDED
                      Defendant,                   §
                                                   §
                                                   §
NOKIA OF AMERICA CORPORATION,                      §
                                                   §
                      Intervenor-Defendant.        §
                                                   §
ERICSSON INC.                                      §
                      Intervenor-Defendant.        §


TOT POWER CONTROL, S.L,                            §
                                                   §
                      Plaintiff,                   §
                                                   §
                                                   §    Civil Action No. 6:21-cv-00109-ADA
v.                                                 §
                                                   §
T-MOBILE USA, INC.,                                §
                                                   §    JURY TRIAL DEMANDED
                      Defendant,                   §
                                                   §
                                                   §
NOKIA OF AMERICA CORPORATION,                      §
                                                   §
                      Intervenor-Defendant.        §
                                                   §
ERICSSON INC.                                      §
                      Intervenor-Defendant.        §


UNOPPOSED MOTION TO WITHDRAW JOHN POULOS AS COUNSEL FOR NOKIA
                   OF AMERICA CORPORATION

       Nokia of America Corporation (“Nokia”) moves to withdraw John Poulos as an attorney

of record for Nokia in the above-captioned matter. Mr. Poulos is no longer with the firm Quinn



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Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”) and no longer represents Nokia in this

matter. Quinn Emanuel will continue to represent Nokia. Plaintiff does not oppose this motion.



DATED: April 28, 2022



                                            By         /s/ Brianne M. Straka

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                                CERTIFICATE OF SERVICE

        I hereby certify that counsel of record who are deemed to have consented to electronic
service are being served today, April 28, 2022, with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(b)(1).

                                                    /s/ Brianne M. Straka
                                                    Brianne M. Straka




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